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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                       Plaintiff,                                       8:14CR155

       vs.
                                                                          ORDER
DOROTEO MANUEL PONCE,

                       Defendant.


       This matter is before the Court on defendant’s appeal, Filing No. 202, of the

magistrate’s order, Filing No. 201. Counsel sought to reopen the deadline for filing

pretrial orders, Filing No. 198, from March 31, 2015, until June 1, 2015. Counsel for the

defendant argued he was just appointed and the deadline had already expired.

Magistrate Judge Gossett stated “The record shows that this deadline for filing Pretrial

Motions expired on March 31, 2015. The entry of appearance of retained counsel after

the expiration of the Pretrial Motions deadline is not a sufficient reason to justify

extension of the deadline. The court finds that the defendant has not shown good

cause for extending the deadline.” Filing No. 201.

       The Court notes that attorney Steven Leffler filed an appearance on April 22,

2015. Filing No. 197. On April 23, 2015, Mr. Leffler’s partner Joseph E. Kuehl then

moved to extend the filing date on April 23, 2015.1 Filing No. 198. This motion was

unopposed by the government. Id. Mr. Leffler contends that the discovery in this matter

is significant and requires additional time to review and file appropriate motions. Id. Mr.

Leffler indicates that former counsel, Christina B. Murphree, believed that cooperation


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        Thereafter, Christina B. Murphree moved to withdraw as counsel, Filing No. 199, and Magistrate
Judge Gossett granted the motion. Filing No. 200.
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would occur. As a consequence, she allegedly did not pursue further discovery nor did

she think about filing any pretrial motions. Mr. Leffler also indicates the defendant is

willing to waive his right to a speedy trial. Id.

       For these reasons the Court will grant Mr. Leffler’s appeal. The government

does not oppose the motion, there are extenuating circumstances, and granting the

motion is in the best interests of justice and judicial economy.

       THEREFORE, IT IS ORDERED THAT:

       1.   Defendant’s motion for an extension of time, Filing No. 198, is granted.

Defendant has until June 1, 2015, at 5:00 p.m. to review discovery and file appropriate

motions.

       2. Defendant’s appeal, Filing No. 202, is granted as set forth herein.

       3. Defendant is ordered to file a waiver of speedy trial within two weeks of the

date of this order. The Court notes that speedy trial time is tolled in the interest of

justice until June 1, 2015.

       Dated this 1st day of May, 2015

                                                    BY THE COURT:
                                                    s/ Joseph F. Bataillon
                                                    Senior United States District Judge




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